                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re: RICHARD M. OSBORNE,                )     Case No. 17-17361-aih
                                          )
            Debtor.                       )     Chapter 7
                                          )
                                          )     Judge Arthur I. Harris
                                          )
______________________________________________________________________________

  MOTION OF COBRA PIPELINE CO., LTD. FOR ORDER REQUIRING THE CASE
    TRUSTEE TO EXECUTE DEEDS TO REAL PROPERTY, OR TO APPOINT A
     RESPONSIBLE PERSON TO EXECUTE DEEDS, CONSISTENT WITH THIS
                              COURT’S ORDERS
______________________________________________________________________________

        Cobra Pipeline Co., Ltd. (“Cobra”), moves this Court for the entry of an order requiring

the Case Trustee to execute deeds to real estate titled in the names of two separate single-

member LLCs formerly owned by Richard M. Osborne, for the purpose of transferring legal

ownership of the real estate to Cobra in accordance with this Court’s judgments rendered in

Adversary Proceedings 20-1091 and 20-1100, or to appoint a responsible person to do so,

consistent with the Order entered at Docket No. 1178 in this case. In support of its Motion,

Cobra respectfully sets forth the following:

            I.     JURISDICTION, VENUE, AND PROCEDURAL POSTURE

       1.        This case was commenced on December 17, 2017, when the Richard M. Osborne

filed a Voluntary Petition for Relief under Chapter 11 of the U.S. Bankruptcy Code.

       2.        Mr. Osborne’s case was converted to a case under Chapter 7 of the Bankruptcy

Code on July 3, 2019.

       3.        This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C.§ 157(b)(2). Cobra consents to the entry of final orders




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by the Bankruptcy Court with respect to this matter. Venue is proper in this Court under 28

U.S.C. §§ 1408 and 1409.

        4.      The statutory predicate for the relief sought herein is 11 U.S.C. §105. In addition,

this Motion relies on the previous Order of this Court [Docket No. 1178] authorizing the Trustee

to liquidate the assets of certain single member LLCs, including the two single member LLCs in

which real estate belonging to Cobra is presently titled.

        5.      On June 7, 2021, counsel for Mr. Osborne file a Notice of Death of Debtor

[Docket No. 1116], notifying the Court that Mr. Osborne passed away on June 4, 2021.

                   II.    THE FRAUDULENT CONVEYANCE CASES

        6.      Cobra filed an Adversary Complaint commencing Adversary Proceeding No. 20-

1091on September 6, 2020, seeking a judgment that a transfer of real estate from Cobra to 2124

N. Newton Falls Road LLC constituted a fraudulent conveyance.

        7.      This Court rendered judgment in favor of Cobra in Case No. 20-1091 on

November 5, 2021.

        8.      Cobra filed an Adversary Complaint commencing Adversary Proceeding No. 20-

1100 on September 21, 2020, seeking a judgment that a transfer of real estate from Cobra to

Marietta Land Properties LLC constituted a fraudulent conveyance.

        9.      This Court rendered judgment in favor of Cobra on November 5, 2021.

                          III.     THE TRUSTEE’S AUTHORITY

        10.     Both 2124 N. Newton Falls Road LLC and Marietta Land Properties LLC are

single member LLCs identified in Mr. Osborne’s bankruptcy schedules as property of the estate

in this case.




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       11.     Both 2124 N. Newton Falls Road LLC and Marietta Land Properties LLC are

scheduled in a Motion filed by the Trustee in this case [Docket No. 1173] as single member

LLCs over which the Trustee sought authority to dissolve or liquidate.

       12.     On February 9, 2022, this Court entered an Order [Docket No. 1178] which

provides, in paragraph 6, as follows: “The Trustee is authorized, with respect to the RMO

Entities as a whole, to take all other actions necessary to exercise the Debtor’s equity interests in

the RMO Entities to cause the dissolution and/or liquidation of some or all of the RMO Entities,

including but not limited to, holding meetings, electing directors or officers, signing pleadings,

signing agreements, making filings with the applicable governmental offices and/or courts, and

taking any entity governance actions that the holder of an equity interest can exercise.”

       13.     On April 27, 2022, by email (attached as Exhibit A, along with the Trustee’s

response), Cobra, through its counsel, requested that the Trustee appoint a responsible person to

sign deeds re-conveying the real estate that was the subject of this Court’s fraudulent conveyance

judgments to Cobra.

       14.     On April 28, 2022, by email (see attached Exhibit A), the Trustee declined to

assist Cobra, asserting that she did not have the corporate authority to comply with the request,

absent an Order permitting the Trustee to operate the entities.

       15.     The Trustee’s assertions are at odds with the express terms of the Order [Docket

No. 1178] entered by this Court and quoted above.

       16.     This Court’s Order provides a safe harbor for the Trustee to exercise corporate

authority over the LLCs implicated in this Motion when it provides, in Paragraph 7, that the

exercise of authority under the terms of the Order shall not make the Trustee responsible for the




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obligations of any of the Entities, and shall not be deemed an exercise of control over the

operations of any of the entities or their affiliates.

        17.     Panel Trustees are expected to take a practical approach to the administration of

estates. The Trustee’s assertion that Cobra should seek a time-consuming and expensive state

court receivership to obtain relief that the Trustee is authorized to provide with the stroke of a

pen in inconsistent with a practical approach and is not justified.

        WHEREFORE, Cobra respectfully requests that this Court enter an Order requiring the

        Case Trustee to execute deeds to real property conveying that property to Cobra in

        accordance with this Court’s judgments in the adversary cases, or to appoint a responsible

        person to do so under the terms of this Court’s Order entered at Docket No. 1178.

                                                          Respectfully submitted,

                                                          /s/ Thomas W. Coffey (0046877)
                                                          Coffey Law LLC
                                                          2430 Tremont Avenue
                                                          Cleveland, OH 44113
                                                          (216) 870-8866
                                                          tcoffey@tcoffeylaw.com

                                                          Counsel for Cobra Pipeline Co. Ltd.




                                CERTIFICATE OF SERVICE

Copies of the foregoing Motion of Cobra Pipeline Co., Ltd. for Order Requiring the Case Trustee
to Execute Deeds to Real Property, or to Appoint a Responsible Person to Execute Deeds,
Consistent with This Court’s Orders, together with Notice of the Hearing thereon, were served
om all counsel of record in this by operation of the Court’s electronic filing system on July 11,
2022.

                                                          /s/Thomas W. Coffey
                                                          Thomas W. Coffey (0046877)




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                          EXHIBIT A




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tcoffey@tcoffeylaw.com

From:                               Coniglio, Kari B. <kbconiglio@vorys.com>
Sent:                               Thursday, April 28, 2022 12:16 PM
To:                                 tcoffey@tcoffeylaw.com
Cc:                                 'Steve Rigo'; Woyt, Elia O.
Subject:                            RE: [EXTERNAL] Cobra Pipeline Fraudulent Conveyance Judgments


Tom – Thanks for the email. I disagree with your assessment that I have the present ability to take corporate authority
on behalf of the entities in the absence of any order authorizing me to operate the entities (which I am not inclined to
seek). The case law from the bankruptcy courts in our district, and Ohio corporate law, provide that I (in my capacity as
Trustee) have the economic interests of the entities only. I believe you’ll need to proceed as a creditor to collect upon
your judgment. Perhaps seeking appointment of a receiver over the entities is the way to handle the situation.


                              Kari Balog Coniglio
                              Partner

                              Vorys, Sater, Seymour and Pease LLP
                              200 Public Square | Suite 1400
                              Cleveland, Ohio 44114

                              Direct: 216.479.6167
                              Mobile: 440.225.2075
                              Email: kbconiglio@vorys.com
                              www.vorys.com


From: tcoffey@tcoffeylaw.com <tcoffey@tcoffeylaw.com>
Sent: Wednesday, April 27, 2022 11:38 PM
To: Coniglio, Kari B. <kbconiglio@vorys.com>
Cc: 'Steve Rigo' <sgr31030@gmail.com>
Subject: [EXTERNAL] Cobra Pipeline Fraudulent Conveyance Judgments

CAUTION: External Email



Kari,
In anticipation of the expected approval by the Public Utilities Commission of Ohio of the sale of much of Cobra’s
property, we are cleaning up some important details in the Cobra case. One of those details involves three fraudulent
conveyances of real estate (two from Cobra to an Osborne single-member LLC known as 2421 N. Newton Falls Road LLC
and one from Cobra to Marietta Land Properties LLC, another Osbourne single-member LLC). I filed adversary
Complaints (attached) in 2020, and we received summary judgment in both cases (Orders attached in 2021.

As a result of the summary judgment Orders, we are soliciting your assistance as Trustee for Mr. Osborne’s estate, in the
form of the appointment of a responsible person to sign deeds re-conveying the properties to Cobra. My thought,
submitted for your consideration, is that you own the membership interests in each LLC and can therefore appoint
officers, directors or other responsible parties who can be authorized to execute deeds.

When you have a moment, can you let me know your thoughts on this? This seems workable to me, but I am interested
in your assessment, including any other solutions that you believe might work.
Thanks,
Tom

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